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REVISED (05/90)

Case 2:03-cr-20215-.]PI\/| Document 81 Filed 06/01/05 Page 1 of 2 Page|D 146

UNITED STATES DISTRICT COURT L&)Q D v

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WESTERN DISTRICT OF TENNESSEE .. 0

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U.S.A. vs. Thomas Wayne Caldwell Docket No. 2 :03CR2|}2!`§D

 

Petition on Probation and Supervised Release

COMES NOW Edward E. Shaw PROBATION ()FFICER OF THE COURT presenting an official
report upon the conduct and attitude of Thomas Wayne Caldwell who was placed on supervision by the
I-Ionorable Jon P. McCalla sitting in the court at Memphis, TN on the llth day of April , 2005, who fixed the
period of supervision at four §41 years , and imposed the general terms and conditions theretofore adopted by
the Court and also imposed Special Conditions and terms as follows:

l. The defendant shall participate in the I-Iome Detention program for a period of six (6) months
2. The defendant shall cooperate with DNA collection as directed by the Probation Office.

2. The defendant shall pay a $4,000 fine in regular monthly installments of not less than 7% of his gross
monthly income.

RESPECTFULLY PRESENTING PETITION FOR ACTI()N OF COURT FOR CAUSE AS FOLLOWS:

The defendant currently possesses several dangerous weapons, and consideration is being made to impose
additional special conditions, such as:
The defendant shall refrain from possessing a firearm, destructive device, or other dangerous weapon.

PRAYING THAT THE COURT WILL ORDER a SUMMONS be issued for the defendant to appear before
the Court for a hearing on whether to modify conditions of his Probation.

 

 

 

 

 

ORDER OF COURT Respectfully,
Considered and ordered this _/__ day WM\`
of< <l 9\1'\@',20()5 and ordered filed and Edward E. Shaw, U. S. Probation Officer
made a part of the records ln the above case. Electronic Monitoring Specialist
F q ( .\`/ q ') Pface: MemDhis. Tennessee
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(I'FNIT ED STATES DISTRICT JUDGE Date: May 24. 2005

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Notice of Distribution

This notice confirms a copy of the document docketed as number 81 in
case 2:03-CR-20215 was distributed by faX, mail, or direct printing on
June 2, 2005 to the parties listedl

 

 

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Honorable J on McCalla
US DISTRICT COURT

